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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                             CASE NO. 21-20242-CR-ALTONAGA
                                      18 U.S.C. § 371
                                      21 U.S.C. § 331(a)
                                      21 U.S.C. § 331(d)
                                      21 U.S.C. § 333(a)(2)
                                      18 U.S.C. § 401(3)

    UNITED STATES OF AMERICA

    vs.

    MARK SCOTT GRENON,
    JONATHAN DAVID GRENON,
    JORDAN PAUL GRENON, and
    JOSEPH TIMOTHY GRENON,

                 Defendants.
    ______________________________/

                                           INDICTMENT

           The Grand Jury charges that:

                                   GENERAL ALLEGATIONS

           At all times relevant to this Indictment:

                                      Regulatory Framework

           1.     The United States Food and Drug Administration (“FDA”) was the federal

    agency charged with the responsibility of protecting the health and safety of the American

    public by assuring, among other things, that drugs marketed and distributed to the American

    public were safe and effective. The FDA’s responsibilities included enforcing the Federal

    Food, Drug and Cosmetic Act, 21 U.S.C. § 301 et seq. (“FDCA”), and regulating the
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    manufacture, labels, labeling, and distribution of all drugs shipped or received in interstate

    commerce.

           2.      Under the FDCA, a “drug” was defined to include, among other things: articles

    that were intended for use in the diagnosis, cure, mitigation, treatment, or prevention of

    disease in humans, 21 U.S.C. § 321(g)(1)(B); articles (other than food) intended to affect the

    structure or any function of the body of humans, 21 U.S.C. § 321(g)(1)(C); or articles intended

    for use as components of other drugs, 21 U.S.C. § 321(g)(1)(D).

           3.      The “intended use” of a drug meant the objective intent of the persons legally

    responsible for the labeling of that product. The intent was determined by such persons’

    expressions, the circumstances surrounding the distribution of the article, labeling claims,

    advertising matter, or oral or written statements by such persons or their representatives. 21

    C.F.R. § 201.128.

           4.      Under the FDCA, “labeling” was defined as “all labels and other written,

    printed, or graphic matter (1) upon any article or any of its containers or wrappers, or

    (2) accompanying such article,” 21 U.S.C. § 321(m); and “label” was defined as “a display of

    written, printed, or graphic matter upon the immediate container of any article,” 21 U.S.C.

    § 321(k).

           5.      Under the FDCA, a “new drug” was defined as any drug “the composition of

    which is such that such drug is not generally recognized, among experts qualified by scientific

    training and experience to evaluate the safety and effectiveness of drugs, as safe and effective

    for use under the conditions prescribed, recommended, or suggested in the labeling thereof.”

    21 U.S.C. § 321(p)(1).




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           6.      Under the FDCA, a drug that was a “new drug” could not be lawfully

    introduced or delivered for introduction into interstate commerce, unless the FDA had

    approved a new drug application or an abbreviated new drug application with respect to such

    drug, or such drug was exempt from approval pursuant to an effective investigational new

    drug application. 21 U.S.C. §§ 331(d) & 355(a), (b), (i), & (j).

           7.      “Adequate directions for use” meant directions under which a layperson could

    use a drug safely for the purposes for which it was intended. 21 C.F.R. § 201.5.

           8.      Under the FDCA, a “prescription drug” was any drug intended for use in

    humans that, because of its toxicity or other potentiality for harmful effect, or the method of

    its use, or the collateral measures necessary for its use, was not safe for use except under the

    supervision of a practitioner licensed by law to administer such drug, or was limited by an

    approved application under section 21 U.S.C. § 355 for use under the professional supervision

    of a practitioner licensed by law to administer such drug. 21 U.S.C. § 353(b)(1).

           9.      Because a prescription drug, by definition, was safe for use only under the

    supervision of a licensed practitioner, there were no directions that could enable a layperson

    to use a prescription drug safely. Therefore, adequate directions for use could not be written

    for a prescription drug.

           10.     Under the FDCA, upon first engaging in the manufacture, preparation,

    propagation, compounding, or processing of a drug, every person was required to immediately

    register with the FDA such person’s name, places of business, all such establishments owned

    or operated by such person, the unique facility identifier of each such establishment, and a

    point of contact email address. 21 U.S.C. §§ 360(b)(1) & (c).




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           11.     Under the FDCA, the terms “manufacture, preparation, propagation,

    compounding, or processing” included repackaging or otherwise changing the container,

    wrapper, or labeling of any drug package in furtherance of the distribution of the drug from

    the original place of manufacture to the person who makes final delivery or sale to the ultimate

    consumer. 21 U.S.C. § 360(a)(1).

           12.     The FDCA prohibited the introduction or delivery for introduction into

    interstate commerce, or the causing thereof, of any “new drug” that was neither approved by

    the FDA nor exempt from approval. 21 U.S.C. §§ 331(d) & 355(a).

           13.     The FDCA also prohibited the introduction or delivery for introduction into

    interstate commerce, or the causing thereof, of any drug that was misbranded. 21 U.S.C.

    § 331(a).

           14.     A drug was misbranded if, among other things:

                   a. its labeling failed to bear “adequate directions for use,” 21 U.S.C.

                          § 352(f)(1); or

                   b. it was manufactured, prepared, propagated, compounded, or processed in

                          an establishment in any State not duly registered with the FDA, 21 U.S.C.

                          § 352(o).

                                                The Drug

           15.     Miracle Mineral Solution (“MMS”) was a liquid solution containing sodium

    chlorite and water.

           16.     When MMS was mixed with an acidic activator, as directed by the defendants,

    the resulting chemical reaction produced chlorine dioxide.




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           17.     Chlorine dioxide was a powerful bleaching agent typically used for bleaching

    and stripping textiles, pulp, and paper. Chlorine dioxide was also used in industrial water

    treatment, because it was a disinfectant, capable of killing pathogenic microorganisms such

    as fungi, bacteria, and viruses.

           18.     MMS was a “drug” within the meaning of 21 U.S.C. § 321(g)(1).

           19.     MMS was a “new drug” within the meaning of 21 U.S.C. § 321(p)(1).

           20.     MMS was a “prescription drug” within the meaning of 21 U.S.C. § 353(b)(1).

           21.     MMS was not approved by the FDA for any use, nor was it exempt from FDA

    approval.

                               The Defendants and Co-Conspirator 1

           22.     MARK SCOTT GRENON manufactured, promoted, sold, and distributed

    MMS to the American public. GRENON was also the leader of Genesis II Church of Health

    and Healing (“Genesis”), an explicitly non-religious entity that GRENON co-founded in or

    around April 2010.

           23.     JONATHAN DAVID GRENON was a member of Genesis, and he assisted

    MARK SCOTT GRENON, who was his father, in the manufacture, promotion, sale, and

    distribution of MMS.

           24.     JORDAN PAUL GRENON was a member of Genesis, and he assisted

    MARK SCOTT GRENON, who was his father, in the manufacture, promotion, sale, and

    distribution of MMS.

           25.     JOSEPH TIMOTHY GRENON was a member of Genesis, and he assisted

    MARK SCOTT GRENON, who was his father, in the manufacture, promotion, sale, and

    distribution of MMS.



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           26.     Co-Conspirator 1 co-founded Genesis with MARK SCOTT GRENON and

    promoted MMS to the American public for the cure, mitigation, treatment, and prevention of

    a variety of diseases.

                                 Prior Civil Enforcement Action

           27.     On or about April 16, 2020, the United States filed a civil complaint in the

    United States District Court for the Southern District of Florida, against MARK SCOTT

    GRENON, JONATHAN DAVID GRENON, JORDAN PAUL GRENON, JOSEPH

    TIMOTHY GRENON, and Genesis, seeking a preliminary injunction and a permanent

    injunction to enjoin the defendants from violating the FDCA. See United States v. Genesis II

    Church of Health and Healing, et al., Case No. 20-21601-CV-WILLIAMS, ECF Nos. 1, 3.

           28.     On or about April 17, 2020, United States District Judge Kathleen M. Williams

    issued a Temporary Restraining Order against MARK SCOTT GRENON, JONATHAN

    DAVID GRENON, JORDAN PAUL GRENON, JOSEPH TIMOTHY GRENON, and

    Genesis. That Temporary Restraining Order, inter alia, prohibited the defendants from

    “directly or indirectly, label[ing], hold[ing], and/or distribut[ing] any [unapproved or

    misbranded] drug, including but not limited to MMS . . . .” See United States v. Genesis II

    Church of Health and Healing, et al., Case No. 20-21601-CV-WILLIAMS, ECF No. 4 at 3.

           29.     On or about May 1, 2020, United States District Judge Kathleen M. Williams

    issued an Order of Preliminary Injunction against MARK SCOTT GRENON, JONATHAN

    DAVID GRENON, JORDAN PAUL GRENON, JOSEPH TIMOTHY GRENON, and

    Genesis. As with the Temporary Restraining Order that preceded it, that Order of Preliminary

    Injunction, inter alia, prohibited the defendants from “directly or indirectly, label[ing],

    hold[ing], and/or distribut[ing] any [unapproved or misbranded] drug, including but not



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    limited to MMS . . . .” See United States v. Genesis II Church of Health and Healing, et al.,

    Case No. 20-21601-CV-WILLIAMS, ECF No. 26 at 8.

                                         COUNT 1
           Conspiracy to Defraud and to Commit Offenses Against the United States
                                      (18 U.S.C. § 371)

           1.      Paragraphs 1 through 29 of the General Allegations section of this Indictment

    are re-alleged and fully incorporated herein by reference.

           2.      From in or around April 2010, and continuing through on or about July 20,

    2020, in Miami-Dade and Broward Counties, in the Southern District of Florida, and

    elsewhere, the defendants,

                                   MARK SCOTT GRENON,
                                 JONATHAN DAVID GRENON,
                                 JORDAN PAUL GRENON, and
                                 JOSEPH TIMOTHY GRENON,

    did knowingly and willfully combine, conspire, confederate, and agree with each other and

    with others known and unknown to the Grand Jury, to:

           (a)     defraud the United States and its agencies by impeding, impairing, obstructing,

    and defeating the lawful governmental functions of the FDA to protect the health and safety

    of the American public by ensuring that drugs marketed and distributed to the American public

    were safe and effective for their intended uses;

           (b)     commit an offense against the United States, that is, with the intent to defraud

    and mislead, introducing and delivering for introduction into interstate commerce, and causing

    to be introduced and delivered for introduction into interstate commerce, a new drug, to wit,

    MMS, that did not have in effect an approval of an application filed pursuant to Title 21,

    United States Code, Sections 355(b) and (j), and was not exempted from such approval




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    pursuant to Title 21, United States Code, Section 355(i), in violation of Title 21, United States

    Code, Sections 331(d), 355(a), and 333(a)(2); and

           (c)     commit an offense against the United States, that is, with the intent to defraud

    and mislead, introducing and delivering for introduction into interstate commerce, and causing

    to be introduced and delivered for introduction into interstate commerce, a drug, to wit, MMS,

    that was misbranded as defined by Title 21, United States Code, Sections 352(f)(1) and (o),

    in violation of Title 21, United States Code, Sections 331(a) and 333(a)(2).

                                PURPOSE OF THE CONSPIRACY

           3.      It was the purpose of the conspiracy for the defendants and their co-

    conspirators to evade government regulation of MMS, and to unlawfully manufacture,

    promote, sell, and distribute MMS to consumers.

                        MANNER AND MEANS OF THE CONSPIRACY

           The manner and means by which the defendants and their co-conspirators sought to

    accomplish the objects and purpose of the conspiracy included, among others, the following:

           4.      MARK SCOTT GRENON and his sons, JONATHAN DAVID GRENON,

    JORDAN PAUL GRENON, and JOSEPH TIMOTHY GRENON, manufactured,

    promoted, sold, and distributed MMS.

           5.      MARK SCOTT GRENON, JONATHAN DAVID GRENON, JORDAN

    PAUL GRENON, and JOSEPH TIMOTHY GRENON claimed that MMS could be used

    to treat, prevent, and cure a variety of serious diseases and disorders, including cancer,

    Alzheimer’s, diabetes, autism, malaria, hepatitis, Parkinson’s, herpes, HIV/AIDS, and, more

    recently, novel coronavirus disease 2019, also known as COVID-19 (hereinafter,

    “Coronavirus”).



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           6.      MARK SCOTT GRENON, JONATHAN DAVID GRENON, JORDAN

    PAUL GRENON, and JOSEPH TIMOTHY GRENON knew that MMS had not been

    approved by the FDA for any use, and that their actions in manufacturing, promoting, selling,

    and distributing MMS to consumers as a miracle cure-all were unlawful.

           7.      MARK SCOTT GRENON, JONATHAN DAVID GRENON, JORDAN

    PAUL GRENON, and JOSEPH TIMOTHY GRENON manufactured, promoted, sold, and

    distributed MMS under the guise of Genesis II Church of Health and Healing, an explicitly

    non-religious entity that MARK SCOTT GRENON and Co-Conspirator 1 founded in an

    attempt to evade government regulation of MMS and shield themselves from prosecution.

           8.      MARK SCOTT GRENON, JONATHAN DAVID GRENON, JORDAN

    PAUL GRENON, and JOSEPH TIMOTHY GRENON rejected the authority of the

    government to regulate MMS, defying government regulations and threatening individuals

    enforcing those regulations.

           9.      MARK SCOTT GRENON, JONATHAN DAVID GRENON, JORDAN

    PAUL GRENON, JOSEPH TIMOTHY GRENON, and Co-Conspirator 1 created and

    maintained various Genesis-affiliated websites to promote and distribute MMS.          These

    websites included www.genesis2church.ch, www.genesis2church.is, www.g2voice.is,

    www.g2sacraments.org, www.newg2sacraments.org, www.mmswiki.is, www.jimhumble.co,

    and mmstestimonials.co, among others.

           10.     At www.g2sacraments.org and www.newg2sacraments.org, websites which

    were created and maintained by MARK SCOTT GRENON, JONATHAN DAVID

    GRENON, JORDAN PAUL GRENON, and JOSEPH TIMOTHY GRENON, consumers

    could place online orders for MMS. Although these websites stated that MMS could be



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     acquired only through a “donation” to Genesis, the donation amounts for orders of MMS were

     set at specific dollar amounts, and were mandatory, such that the “donation” amounts were

     effectively just sales prices.

             11.     MARK SCOTT GRENON, JONATHAN DAVID GRENON, JORDAN

     PAUL GRENON, and JOSEPH TIMOTHY GRENON manufactured MMS in the

     backyard of JONATHAN DAVID GRENON’s home in Bradenton, Florida, an

     establishment that had not been duly registered with the FDA for the manufacture,

     preparation, propagation, compounding, or processing of a drug.

             12.     MARK SCOTT GRENON, JONATHAN DAVID GRENON, JORDAN

     PAUL GRENON, and JOSEPH TIMOTHY GRENON distributed over 28,000 bottles of

     MMS to the American public, shipping MMS from Bradenton, Florida, to consumers all

     across the country, including consumers in other states and consumers in the Southern District

     of Florida.

             13.     As a result of their sales of MMS, MARK SCOTT GRENON, JONATHAN

     DAVID GRENON, JORDAN PAUL GRENON, and JOSEPH TIMOTHY GRENON

     received more than one million dollars ($1,000,000).

                                             OVERT ACTS

             In furtherance of the conspiracy, and to achieve the purpose and objects thereof, at

     least one co-conspirator committed and caused to be committed, in Miami-Dade and Broward

     Counties, in the Southern District of Florida, and elsewhere, at least one of the following overt

     acts, among others:

             1.      In or around April 2010, MARK SCOTT GRENON and Co-Conspirator 1

     announced that they were forming a non-religious “church,” called Genesis II Church of



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     Health and Healing, in order to cloak their unlawful distribution of MMS as protected religious

     exercise, and thereby attempt to evade government regulation of MMS and shield themselves

     from future prosecution.

            2.        On or about November 13, 2014, MARK SCOTT GRENON registered the

     domain name, www.genesis2church.is.

            3.        On or about March 23, 2015, JORDAN PAUL GRENON registered the

     domain name, www.g2sacraments.org.

            4.        On or about December 16, 2015, MARK SCOTT GRENON registered the

     domain name, www.quantumleap.is.

            5.        In or around December 2015, MARK SCOTT GRENON disseminated a

     documentary titled, “Quantum Leap: The Global Healing Revolution,” in which MARK

     SCOTT GRENON claimed that, using MMS, he had healed hundreds of thousands of people

     from cancer, HIV/AIDS, malaria, diabetes, Parkinson’s, arthritis, and other serious diseases

     and disorders.

            6.        On or about August 12, 2016, MARK SCOTT GRENON registered the

     domain name, www.g2voice.is.

            7.        On or about July 25, 2017, JORDAN PAUL GRENON and JONATHAN

     DAVID GRENON caused one bottle of MMS to be mailed from Bradenton, Florida, to

     Davie, Florida.

            8.        On or about October 3, 2019, JORDAN PAUL GRENON and JONATHAN

     DAVID GRENON caused one bottle of MMS to be mailed from Bradenton, Florida, to

     Plantation, Florida.




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            9.      On or about November 20, 2019, JORDAN PAUL GRENON and

     JONATHAN DAVID GRENON caused one bottle of MMS to be mailed from Bradenton,

     Florida, to Miami, Florida.

            10.     On or about March 3, 2020, MARK SCOTT GRENON sent an email to the

     subscribers of his newsletter in which MARK SCOTT GRENON claimed that MMS could

     cure Coronavirus. In this newsletter, MARK SCOTT GRENON provided detailed dosing

     instructions for using MMS to treat Coronavirus, with one set of dosing instructions for adults,

     and another set of dosing instructions for young children.

            11.     On or about March 8, 2020, MARK SCOTT GRENON and JOSEPH

     TIMOTHY GRENON disseminated a podcast titled, “The Coronavirus is curable! Do you

     believe it? You better!,” in which MARK SCOTT GRENON and JOSEPH TIMOTHY

     GRENON promoted MMS as a cure for Coronavirus.

            12.     On or about March 15, 2020, MARK SCOTT GRENON and JOSEPH

     TIMOTHY GRENON recorded a podcast titled, “The Controversial Healing Cure,” in which

     MARK SCOTT GRENON and JOSEPH TIMOTHY GRENON promoted MMS as a cure

     for Coronavirus.

            13.     On or about March 18, 2020, JORDAN PAUL GRENON and JONATHAN

     DAVID GRENON caused one bottle of MMS to be mailed from Bradenton, Florida, to

     Atlanta, Georgia.

            All in violation of Title 18, United States Code, Section 371.




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                                          COUNT 2
                       Criminal Contempt – Temporary Restraining Order
                                     (18 U.S.C. § 401(3))

            1.      Paragraphs 1 through 25 and 27 through 29 of the General Allegations section

     of this Indictment are re-alleged and fully incorporated herein by reference.

            2.      From on or about April 17, 2020, and continuing through on or about May 1,

     2020, in Miami-Dade County, in the Southern District of Florida, and elsewhere, the

     defendants,

                                JONATHAN DAVID GRENON and
                                   JORDAN PAUL GRENON,

     did knowingly and willfully, and in disobedience and resistance to a lawful order and

     command of the United States District Court for the Southern District of Florida, that is, a

     Temporary Restraining Order issued in Miami, Florida, on or about April 17, 2020, in the case

     of United States v. Genesis II Church of Health and Healing, et al., Case No. 20-21601-CV-

     WILLIAMS, violate that Temporary Restraining Order, in that the defendants did directly and

     indirectly label, hold, and distribute an unapproved and misbranded drug, namely, MMS.

            In violation of Title 18, United States Code, Sections 401(3) and 2.

                                           COUNT 3
                           Criminal Contempt – Preliminary Injunction
                                      (18 U.S.C. § 401(3))

            1.      Paragraphs 1 through 25 and 27 through 29 of the General Allegations section

     of this Indictment are re-alleged and fully incorporated herein by reference.

            2.      From on or about May 1, 2020, and continuing through on or about July 20,

     2020, in Miami-Dade County, in the Southern District of Florida, and elsewhere, the

     defendants,




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                               JONATHAN DAVID GRENON and
                                  JORDAN PAUL GRENON,

     did knowingly and willfully, and in disobedience and resistance to a lawful order and

     command of the United States District Court for the Southern District of Florida, that is, a

     Preliminary Injunction issued in Miami, Florida, on or about May 1, 2020, in the case of

     United States v. Genesis II Church of Health and Healing, et al., Case No. 20-21601-CV-

     WILLIAMS, violate that Preliminary Injunction, in that the defendants did directly and

     indirectly label, hold, and distribute an unapproved and misbranded drug, namely, MMS.

            In violation of Title 18, United States Code, Sections 401(3) and 2.




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